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 4
     Attorney for LUIS HERNANDEZ
 5
 6                               UNITED STATES DISTRICT COURT
 7                              EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,             )                2:10-CR-469-JAM
 9                                         )
                          Plaintiff,       )                STIPULATION AND
10                                         )                ORDER
     vs.                                   )                EXTENDING TIME TO
11                                         )                FILE PAPERWORK FOR
     LUIS HERNANDEZ,                       )                PRETRIAL RELEASE
12                                         )
                          Defendant.       )
13   _____________________________________ )
14           On November 19, 2010, the parties submitted a stipulation that the Court order Luis
15   Hernández’s $150,000 bond in this case be satisfied by $70,000 in real property and by
16   $80,000 in an unsecured bond, and that the Court grant Luis Hernández until December 2,
17   2010, to submit the necessary paperwork.
18           By Order dated November 22, 2010, the Honorable Magistrate Judge Gregory G.
19   Hollows, based on the parties’ stipulation, allowed Luis Hernández’s $150,000 bond to be
20   satisfied by $70,000 in real property and by $80,000 in an unsecured bond. The Court
21   granted Luis Hernández until December 2, 2010, to submit the necessary paperwork.
22           The initial documentation has been shown to counsel for the Government. A lot/book
23   guarantee search for encumbrances on the property still has to be obtained, and was ordered
24   on December 1, 2010, through Northern California Title in Red Bluff, California.
25           In addition, counsel for Luis Hernández must travel to the State of Washington due to
26   an emergency and will not return to California until December 10, 2010.
27   ///
28   ///

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 1         Therefore, it is stipulated by the parties that the Court permit Luis Hernández, through
 2   counsel, to submit the necessary paperwork by December 17, 2010.
 3
 4                                            Respectfully submitted,
 5   DATED: December 1, 2010                  /s/ Gilbert A. Roque
                                              GILBERT A. ROQUE, Attorney for
 6                                            LUIS HERNANDEZ, Defendant
 7
     DATED: December 1, 2010                  /s/ Michael D. Anderson
 8                                            MICHAEL D. ANDERSON
                                              Assistant United States Attorney,
 9                                            By Gilbert A. Roque, by personal authorization
10
                                               ORDER
11
           The stipulations of the parties are adjudged acceptable.
12
           IT IS SO ORDERED.
13
14   DATED: December 6, 2010            /s/ Gregory G. Hollows
                                       ________________________________________
15
                                              United States Magistrate Judge
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